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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONALD J. TROMP, Plaintiff, ] 9 CV 8 6 9 a

 

 

 

 

- against - Case No. JUDGE MA SR
‘
CYRUS R. VANCE, JR., in his official capacity MEMORANDUM OF LAW IN ERO
as District Attorney of the County of New SUPPORT OF PLAINTIFF'S
York; SOLOMON SHINEROCK, in his EMERGENCY MOTION FORA
official capacity as Assistant District Attorney TEMPORARY RESTRAINING
for the County of New York; ORDER AND A PRELIMINARY
INJUNCTION
and

MAZARS USA, LLP,

 

Defendants.

 

INTRODUCTION

Under Article I, the Supremacy Clause, and the structure of our Constitution, the President
of the United States cannot be “subject to the criminal process” while he is in office. Memorandum
for the U.S. Concerning the Vice President’s Claim of-Constitutional Immunity 17, In re Proceedings of
the Grand Jury Impaneled Dec. 5, 1972, No. 73-cv-965 (D. Md.) (Bork Memo). Virtually “all legal
commenters” agree. Id. The United States Department of Justice agrees too. See A Sitting President’s
Amenability to Indictment and Criminal Prosecution, 24 O.L.C. Op. 222 (Oct. 16, 2000). And no court has
ever suggested otherwise.

Yet the District Attorney of New York County is charging down this blatantly unconstitutional
path; and he’s plainly doing so in a way that, he hopes, will evade judicial review altogether. The
District Attorney is subjecting the President to ctiminal process: he is investigating alleged criminal
conduct by the President, has issued a grand jury subpoena to the President’s business, and is seeking
the President’s personal financial information. But when negotiations over that subpoena reached an
impasse, the District Attorney issued a new subpoena to Mazats USA, LLP—the President’s longtime

accountant. By subpoenaing Mazars, a neutral third-party custodian, and threatening it with contempt
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if it did not divulge the President’s records by September 19, 2019, the District Attorney sought to
“frustrate any judicial inquiry” into the subpoena’s validity. Eastland v. U.S. Servicemen’s Fund, 421 US.
491, 501 n.14 (1975).

This is untenable. The President of the United States is entitled to his day in court. “[T]he
fortuity that documents sought ... are not in the hands of a party claiming injury from the subpoena
should not immunize that subpoena from challenge by that party,” and “[t}he fact that the Executive
is not in a position to assert its claim of constitutional right by refusing to comply with a subpoena
does not bar the challenge.” United States v. AT¢>T Co., 567 F.2d 121, 129 (D.C. Cir. 1977). Indeed,
this is not the first time that the President has been forced to challenge subpoenas to third-party
custodians for his confidential financial information. But in those cases, the congressional defendants
agreed to stay their subpoenas until the district court resolved the President’s preliminary-injunction
motion (plus one week). See Trump v. Comm. on Oversight ¢» Reform of U.S. House of Representatives, 380
F. Supp. 3d 76, 88 (D.D.C. 2019); Doc. 21, No. 19-cv-3826, Trump v. Deutsche Bank, AG (S.D.N.Y)).
Yet, when asked to offer this same minimum telief here so that this important constitutional dispute
could be litigated in an orderly and equitable fashion, the District Attorney refused in the hope that
he could force Mazats to quickly comply and subvert judicial review.’

The President, accordingly, was forced to file this emergency motion. For the reasons set forth
below, The President respectfully requests a temporary restraining order prohibiting Defendants from
enforcing or complying with the Mazars subpoena until the President’s preliminary-injunction motion
is resolved. After the TRO, the President requests a preliminary injunction prohibiting Defendants
from enforcing or complying with the Mazats subpoena until his claims are tesolved on the merits. If

the Court needs more time, the President asks it to administratively stay the subpoena. To preserve

 

* Yesterday afternoon, the District Attorney offered to give Mazars until September 23, 2019
to produce the portion of the subpoena calling for tax records—an extension of only two business
days for a mere subset of the requested documents. That offer still requires Mazars to ptoduce reams
of documents on September 19, and it does not give the President enough time to litigate his claim.

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the President’s rights and this Court’s jurisdiction, the President asks the Court for interim relief no
later than noon on September 19, 2019.

The President is entitled to interim relief for two independent reasons. First, the President
faces “irreparable harm” and has a “likelihood of success on the metits.”” Citigroup Glob. Markets, Inc.
v. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010). The President will suffer
irreparable harm because, if this Court does not intervene to preserve the status quo, there will be no
way to unring the bell once Mazars complies with the District Attorney’s subpoena. The District
Attorney will have reviewed confidential documents that this Court may later determine were illegally
demanded. No damages award could ever make the President whole. And the denial of temporary
telief could prevent any meaningful judicial review of the President’s claims. This is the quintessential
case of irrepatable harm.

The President is also likely to prevail on the merits. No State can ctiminally investigate,
prosecute, or indict a President while he is in office. Unlike private civil suits, criminal investigations
impose severe burdens on the President and distract him from his constitutional duties. When the
prosecuting authority is a State, criminal investigations also violate core principles of federalism and
supremacy. That is why the Department of Justice and legal scholars have long held the view that the
President is immune from criminal process, for official and unofficial conduct alike, while he is in
office. “[P]ermitting such criminal process against a sitting President would affect the underlying
dynamics of our governmental system in profound and necessarily unpredictable ways, by shifting an
awesome power to ... persons lacking an explicit constitutional role vis-a-vis the President.” 24 O.L.C.
Op. at 258.

Second, the President easily prevails under the alternative test for a preliminaty injunction:
irreparable harm plus “sufficiently serious questions going to the merits to make them a fair ground
for litigation” and “‘a balance of hardships tipping decidedly toward the party requesting the

preliminary relief.”’ Citigroup, 598 F.3d at 35. In a procedurally similar case, the D.C. Circuit has held

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that irreparable harm is the “decisive element” favoring interim relief against a subpoena to a third-
party custodian. U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1256-57 (D.C. Cir. 1973), subsequent
merits decision rev'd on other grounds, 421 U.S. 491. Only interim relief can ensure that the third-party
custodian does not disclose the plaintiff's information before the court can consider the “serious
constitutional questions” raised by the subpoenas with the necessary “consideration and deliberation.”
Id. That is precisely the situation here.

For the same reasons, the balance of harms and public interest tilt decidedly in the President’s
favor. Mazars will suffer no harm if interim relief is granted; if anything, it will be spared the cost of
complying with the subpoena and the prospect of liability to the President if the subpoena is invalid.
The only harm that the District Attorney will suffer, if he ultimately prevails on the merits, is some
delay before receiving the documents. Courts have consistently held that such harm is given little
weight and pales in compatison to the severe injury that the plaintiff will suffer if the status quo is not
preserved. Moreover, there is no public interest in allowing the District Attorney to subvert judicial
teview by enforcing a subpoena that has been challenged as unconstitutional. To the contrary, the
public interest is served by ensuring that this important dispute of constitutional magnitude is fully
and fairly resolved.

Finally, granting a preliminary injunction will allow this case to be adjudicated in an orderly
fashion. Without one, the President will be forced to seek the same relief from the Second Circuit and
the Supreme Court. There is no reason to burden the appellate courts with emergency requests. The
pteliminary injunction would be for a limited duration, would ensure that the status quo is preserved
while this Court considers the merits, and would cause no appreciable harm to Defendants or the
public. The President thus respectfully requests that this Court grant an administrative stay (if needed),

a TRO, and a preliminary injunction.
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BACKGROUND
On August 1, 2019, the District Attorney issued a grand jury subpoena to The Trump

Organization for documents and communications concerning the President. See Consovoy Decl., Ex.
B. The President’s attorneys entered into negotiations with the District Attorney’s office, and The
Trump Organization began complying with the subpoena. But the District Attorney’s ‘office later
revealed that it read the subpoena to cover the President’s personal tax returns. When the President’s
attorneys resisted that implausible interpretation, the District Attorney’s office decided to circumvent
the President by issuing a new subpoena to Mazars, a neutral third-party custodian, to produce this
information instead.

That subpoena, which was issued on August 29, 2019, directs Mazats to ptoduce a specific list

of records concerning the President:

1. For the period of January 1, 2011 to the present, with respect to Donald J. Trump, the
Donald J. Trump Revocable Trust, the Trump Organization Inc., the Trump
Organization LLC, the Trump Corporation, DJT Holdings LLC, DJT Holdings
Managing Member LLC, Trump Acquisition LLC, Trump Acquisition, Corp., the
Trump Old Post Office LLC, the Trump Foundation, and any related parents,
subsidiaries, affiliates, joint ventures, predecessors, or successors (collectively, the
“Trump Entities’):

Tax returns and related schedules, in draft, as-filed, and amended form;

b. Any and all statements of financial condition, annual statements, petiodic
financial reports, and independent auditors’ reports prepared, compiled,
reviewed, or audited by Mazars USA LLP or its predecessor, WeiserMazars
LLP;

c. Regardless of time period, any and all engagement agreements or contracts
related to the preparation, compilation, review, or auditing of the documents
described in items (a) and (b);

d. All underlying, supporting, or source documents and records used in the
preparation, compilation, review, or auditing of documents described in items
(a) and (b), and any summaries of such documents and tecords; and

e. All work papers, memoranda, notes, and communications related to the
pteparation, compilation, review, or auditing of the documents described in
items (a) and (b), including, but not limited to,

i. All communications between Donald Bender and any employee or
reptesentative of the Trump Entities as defined above; and
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it, All communications, whether internal or external, related to concerns
about the completeness, accuracy, or authenticity of any records,
documents, valuations, explanations, or other information provided by any
employee or representative of the Trump Entities.

2. For the period of January 1, 2011 to the present, with respect to Donald J. Trump, the
Donald J. Trump Revocable Trust, the Trump Organization Inc., the Trump
Organization LLC, the Trump Corporation, DJT Holdings LLC, DJT Holdings
Managing Member LLC, Trump Acquisition LLC, Trump Acquisition, Corp., the
Trump Old Post Office LLC, the Trump Foundation, and any related parents,
subsidiaries, affiliates, joint ventures, predecessors, or successors (collectively, the
“Trump Entities”):

Tax returns and related schedules, in draft, as-filed, and amended form;

b. Any and all statements of financial condition, annual statements, periodic
financial reports, and independent auditors’ reports prepared, compiled,
teviewed, or audited by Mazars USA LLP ot its predecessor, WeiserMazars
LLP;

c. Regardless of time period, any and all engagement agreements or contracts
related to the preparation, compilation, review, or auditing of the documents
described in items (a) and (b);

d. All underlying, supporting, or source documents and tecords used in the
preparation, compilation, review, or auditing of documents described in items
(a) and (b), and any summaries of such documents and records; and

e. All work papers, memoranda, notes, and communications related to the
pteparation, compilation, review, or auditing of the documents described in
items (a) and (b), including, but not limited to,

i. All communications between Donald Bender and any employee or
representative of the Trump Entities as defined above; and

iii All communications, whether internal or external, related to concerns
about the completeness, accuracy, or authenticity of any records,
documents, valuations, explanations, or other information provided by any
employee or representative of the Trump Entities.

Consovoy Decl., Ex. A.

Quite remarkably, the District Attorney’s subpoena to Mazars is identical to a subpoena that
the House Oversight Committee issued to Mazars (except for a few stylistic edits). See Doc. 11-2, at
3, Trump v. Comm. on Oversight C Reform, No. 19-cv-1136 (D.D.C.). The only exception is paragraph
1.a. The House Oversight Committee did not ask Mazars for the President’s tax returns, but the
District Attorney did. That request mirrors a subpoena that the House Ways and Means Committee

sent to the Treasury Department. See Doc. 1-14, Comm. on Ways ¢ Means v. U.S. Dept. of Treasury, No.
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1:19-cv-1974 (D.D.C.). Essentially, then, the District Attorney cut-and-pasted the House Oversight
and House Ways and Means subpoenas into a document and sent them to Mazars.

The District Attorney’s subpoena orders Mazats to produce the requested information by 2:00
p.m. on September 19, 2019. As with the first subpoena, the President’s attorneys reached out to the
District Attorney’s office to engage in good-faith negotiations over the Mazars subpoena, including at
a meeting with the District Attorney earlier today. Yet the District Attorney’s office ultimately refused
to natrow the subpoena, allow mote time for negotiations, or even stay enforcement of the subpoena
while the parties litigate over its validity. The President was thus forced to file this emergency motion

for interim relief.

ARGUMENT
The standard for granting a TRO and a preliminary injunction are the same. AIM Int’! Trading

LLC »v. Vakueine SpA., 188 F. Supp. 2d 384, 386 (S.D.N.Y. 2002). Preliminary relief is warranted if
there is ““(a) irreparable harm and (b) either (1) likelihood of success on the merits or (2) sufficiently
serious questions going to the merits to make them a fair ground for litigation and a balance of
hardships tipping decidedly toward the party requesting the preliminary relief.”’ Citigroup, 598 F.3d at
35. The President is entitled to relief under either standard.

I. The President will suffer irreparable harm without a preliminary injunction.

The President undoubtedly faces irreparable harm if the Court does not issue an order
preserving the status quo. If this Court does not intervene, Mazars could give the District Attorney
reams of the President’s financial records—private information that was shared with Mazars on the
condition that it would be kept confidential. If Mazars produces the information, the status quo can
never be restored. One district court aptly explained why the disclosure of confidential records is
“[c]learly ... irreparable in nature”:

Once confidentiality is breached, the harm is done and cannot be undone. Plaintiff

cannot subsequently perform its commitment to its clients to protect the

confidentiality of the documents and the information which they contain. There is no
way to recapture and remove ftom the knowledge of others information improperly
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disclosed by Defendant. No court order or specific performance can be framed to
accomplish that end, and no awatd of money damages will change the fact that
information which Plaintiff was entitled to have kept from the knowledge of third
parties is no longer shielded from their gaze. Confidentiality, like pregnancy, is an all
ot nothing proposition; either it exists or it does not exist.

Merrill Lynch, Pierce, Fenner C» Smith, Inc. v. Bishop, 839 F. Supp. 68, 72 (D. Me. 1993). “Once the
documents are surrendeted,” in other words, “confidentiality will be lost for all time. The status quo
could never be restored.” Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979); see PepsiCo, Inc.
v. Redmond, 1996 WL. 3965, at *30 (N.D. Ill. 1996) (“[JJust as it is impossible to unring a bell, once
disclosed, ... confidential information lose their secrecy forever’); Metro. Life Ins. Co. v. Usery, 426
F. Supp. 150, 172 (D.D.C. 1976) (“Once disclosed, such information would lose its confidentiality
forever.”). That is why “[t]he disclosure of private, confidential information ‘is the quintessential type
of irreparable harm that cannot be compensated or undone by money damages.” Asrbnb, Inc. v. City of
New York, 2019 WL 91990, at *23 (S.D.N.Y. Jan. 3, 2019) (quoting Hirschfeld v. Stone, 193 F.R.D. 175,
187 (S.D.N.Y. 2000)).

Immediate relief is also needed to preserve the President’s opportunity to secure judicial review
of his constitutional claim. “Courts routinely issue injunctions to stay the status quo when” events
might otherwise “moot the losing party’s right to appeal.” John Doe Co. v. CFPB, 235 F.Supp.3d 194,
206 (D.D.C. 2017); see Cir. For Int'l Envtl. Law v. Office of U.S. Trade Rep., 240 F. Supp. 2d 21, 22-23
(D.D.C. 2003) (explaining that the movant makes “a strong showing of irreparable harm” where
disclosure would moot any appeal); John Doe Agency v. John Doe Corp., 488 U.S. 1306, 1309, (1989)
(Marshall, J., in chambers) (“The fact that disclosure would moot that part of the Court of Appeals’
decision requiring disclosure ... create[s] an irreparable injury.”). This “irreparable” harm exists when
a plaintiff challenges a subpoena to a thitd party. Eastland, 488 F.2d at 1256. “[C]ompliance by the
third person could frustrate any judicial inquiry” into the subpoena’s legality. Eastland, 421 U.S. at 501
n.14, Allowing this to happen would wrongly deny the plaintiff's rights and “immunize the subpoena

from challenge” based on “the fortuity that documents sought by [the] subpoena ate not in the hands
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of a patty claiming injury from the subpoena.” United States v. AT@>T Co., 567 F.2d 121, 129 (D.C. Cir.
1977). In short, denying interim relief could “entirely destroy [plaintiffs’] rights to secure meaningful
review.” Providence Journal, 595 F.2d at 890. That is classic irreparable harm.

II. The President is likely to succeed on the merits.

The President of the United States cannot be “subject to the criminal process” while he is in
office. Bork Memo 17. This principle follows from Article I, the Supremacy Clause, and the overall
structure of the Constitution.

Article I vests “[t]he executive Power” in one “President of the United States of America.”
§1. The President thus “occupies a unique position in the constitutional scheme,” Nexon v. Fitzgerald,
457 U.S. 731, 749 (1982); he “is the only person who is also a branch of government,” Jay S. Bybee,
Who Excecutes the Executioner?, 2-SPG NEXUS: J. Opinion 53, 60 (1997). Because “the President is a
unitaty executive,” “[w]hen the President is being prosecuted, the presidency itself is being
prosecuted.” Akhil Reed Amar & Brian C. Kalt, The Presidential Privilege Against Prosecution, 2-~SPG
NEXUS: J. Opinion 11, 12 (1997).

Article II also gives the President immense authority over foreign and domestic affairs. He
must, among other things, command the atmed forces, negotiate treaties and receive ambassadors,
appoint and remove federal officers, and “take Care that the Laws be faithfully executed.” §§2-3. The
President is “the chief constitutional officer of the Executive Branch, entrusted with supervisory and
policy responsibilities of utmost discretion and sensitivity.” Fazgerald, 457 U.S. at 750. “Unlike federal
lawmakers and judges, the President is at ‘Session’ twenty-four hours a day, every day. Constitutionally
speaking, the President never sleeps. The President must be ready, at a moment’s notice, to do
whatever it takes to preserve, protect, and defend the Constitution and the American people.” Akhil
Reed Amar & Neal Kumar Katyal, Executive Privileges and Immunities: The Nixon and Clinton Cases, 108

Harv. L. Rev. 701, 713 (1995).
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“{N]ecessarily implied”’ from the grant of these duties is ““the power to perform them.”
Fitzgerald, 457 U.S. at 749 (quoting 3 J. Story, Commentaries on the Constitution of the United States §1563).
“The president cannot, therefore, be liable to arrest, imprisonment, or detention, while he is in the
discharge of his office.”’ Id. Nor can he be investigated, indicted, or otherwise subjected to criminal
process. See_A Sitting President's Amenabihty to Indictment and Criminal Prosecution, 24 O.L.C. Op. 222, 246-
60 (Oct. 16, 2000); accord Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency and
Beyond, 93 Minn. L. Rev. 1454, 1461 (2009) (“Even the lesser burdens of a criminal investigation—
including preparing for questioning by criminal investigators—are time-consuming and distracting...
[C]riminal investigations take the President’s focus away from his or her responsibilities to the people.
And a President who is concerned about an ongoing criminal investigation is almost inevitably going
to do a worse job as President.”); Nixon v. Sinica, 487 F.2d 700, 757 (D.C. Cir. 1973) (MacKinnon, J.,
concutting in part and dissenting in part) (explaining that “a// aspects of criminal prosecution of a
President must follow impeachment” and that “removal from office must precede ay form of criminal
process against an incumbent President” (emphases added)).

Notably, the Framers’ debates at the Philadelphia Convention “strongly suggest an
understanding that the President, as Chief Executive, would not be subject to the ordinary criminal
process.” Bork Memo. 6. They understood “that the nation’s Chief Executive, responsible as no other
single officer is for the affairs of the United States, would not be taken from duties that only he can
perform unless and until it is determined that he is to be shorn of those duties by the Senate.” Id. at
17, Oliver Ellsworth and John Adams, for example, stated that “‘the President, personally, was not
the subject to any process whatever.... For [that] would ... put it in the power of a common justice
to exercise any authority over him and stop the whole machine of Government.” Fitggerald, 457 USS.
at 750 n.31. Later, Thomas Jefferson opined that the Constitution would not tolerate the President

being “‘subject to the commands of the [judiciary], & to imprisonment for disobedience; if the several

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coutts could bandy him from pillar to post, keep him constantly trudging from north to south & east
to west,” they could “‘withdraw him entirely from his constitutional duties.” Id.

While the Supreme Court has held that a private litigant can sue the President in federal court
for his unofficial conduct, see Chinton v. Jones, 520 U.S. 681 (1997), criminal process comes with a
“distinctive and serious stigma” that “imposes burdens fundamentally different in kind from those
imposed by the initiation of a civil action” —burdens that would intolerably “threaten the President’s
ability to act as the Nation’s leader in both the domestic and foreign spheres.” 24 O.L.C. Op. at 249.
“A civil complaint filed by a private person is understood as reflecting one person’s allegations,” while
the “stigma and opprobrium associated with a criminal charge” is “a public rather than private
allegation of wrongdoing” that would “undermin[e] the President’s leadership and efficacy both here
and abroad.” Id. at 250-51. The “burdens of responding” to criminal proceedings, moreover, “are
different in kind and far greater than those of responding to civil litigation,” given their intensely
personal nature, their “unique mental and physical burdens” on the suspect, and the “substantial
preparation” they demand. Id at 251-54.

At bottom, “[t]o wound [the President] by a criminal proceeding is to hamstring the operation
of the whole governmental apparatus, both in foreign and domestic affairs.” Memorandum from
Robert G. Dixon, Jr., Asst. Att’y Gen., O.L.C., Re: Amenability of the President, Vice President, and Other
Ciuil Officers to Federal Crinunal Prosecution While in Office 30 (Sept. 24, 1973) (Dixon Memo.). The
President thus cannot be subject to criminal investigation, for any conduct of any kind, while he is

serving as President.”

 

* Other provisions of the Constitution bolster this conclusion. Beyond creating a unitary
executive and granting him immense powers and responsibilities, Article II also provides that the
President “shall hold his Office during the Term of four Years” and contemplates his “remov[al]”
only via “Impeachment.” §§1, 4. Removal by impeachment, in turn, requites conviction by two-thirds
of the Senate. Art. I, §3. Indeed, the Constitution states that a President “convicted” by the Senate
can then be “liable and subject to Indictment, Trial, Judgment, and Punishment, according to Law.”
Id. The use of the past-tense “convicted” reinforces that the President cannot be subject to criminal
process before that point. See Bybee 54-65. Prominent Founders agreed. See, ¢.g., Federalist No. 69, at

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Any other rule is untenable. It would allow a single prosecutor to citcumvent the
Constitution’s specific rules for impeachment. See Kendall v. U.S. ex rel. Stokes, 37 U.S. 524, 610 (1838);
24 O.L.C. Op. at 246, The Constitution’s assignment of the impeachment power to Congtess and its
supermajority requirement for removal ensute that “the process may be initiated and maintained only
by politically accountable legislative officials” who represent a majority of the entite nation. 24 O.L.C.
Op. at 246; see also Dixon Memo 32 (“[T]he presidential election is the only national election, and there
is no effective substitute for it.... The decision to terminate [the President’s nationwide electoral]
mandate, therefore, is more fittingly handled by the Congress than by a jury”); Amar & Kalt 12 (“The
President is elected by the entire polity and represents all 260 million citizens of the United States of
Amertica. If the President were prosecuted, the steward of a// the People would be hijacked from his
duties by an official of few (or none) of them.”); Amat & Kaytal 713.

The constitutional prohibition on subjecting a sitting President to criminal process is even
stronger when applied to state and local governments. “Because the Supremacy Clause makes federal
law ‘the supreme Law of the Land,’ Art. VI, cl. 2, any direct control by a state court over the President,
who has principal responsibility to ensure that those laws are ‘faithfully executed,’ Art. I, §3,” raises
sefious constitutional concerns even in civil cases. Jones, 520 U.S. at 691 (citing Hancock v. Train, 426
U.S. 167, 178-79 (1976); and Mayo v. United States, 319 U.S. 441, 445 (1943)). But in criminal cases,
where the State is not acting as a mere forum for private litigation but is #se/f interfering with the

President’s duties, investigating the President plainly violates the Supremacy Clause.

 

416 (Alexander Hamilton) (Rossiter ed., 1961) (“The President ... would be liable to be impeached,
tried, and, upon conviction ... would afenvards be liable to prosecution and punishment in the ordinary
course of law.” (emphasis added)); 2 Farrand, Records of the Federal Convention 500 (tev. ed. 1966)
(Gouverneur Morris: “A conclusive reason for making the Senate instead of the Supreme Court the
Judge of impeachments, was that the latter was to try the President affer the trial of the impeachment.”
(emphasis added)); Federalist No. 77 at 464 (Alexander Hamilton) (discussing impeachment and
“subsequent prosecution in the common coutse of law” (emphasis added)).

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Under the Supremacy Clause, States cannot “defeat the legitimate operations” of the federal
government. M ‘Culloch, 17 U.S. at 427, “It is of the very essence of supremacy, to remove all obstacles
to its action within its own sphere, and so to modify every power vested in subordinate governments,
as to exempt its own operations from their own influence.” Id. Because the President is the solitary
head of the executive branch, subjecting him to criminal process would “arrest[] all the [executive
powers] of the government, and ... prostrat[e] it at the foot of the states.” M‘Culloch, 17 US. at 432;
see Amat & Kalt 13-16.

The threat that state criminal process poses to a President cannot be overstated. He is an
“easily identifiable target,” and “[c]ognizance of this personal vulnerability frequently could distract a
President from his public duties, to the detriment of not only the President and his office but also the
Nation that the Presidency was designed to serve.” Fitygerald, 457 U.S. at 752-53. State and local
prosecutors have massive incentives to criminally investigate the President to advance their careers or
damage a political opponent. And given the heavy burdens associated with criminal process, “all you
need is one prosecutor, one trial judge, the barest amount of probable cause, and a supportive local
constituency, and you can shut down a presidency.” Jed Shugerman, A Sising President Generally Can't
Be Indicted, ShugerBlog (May 22, 2018), bit.ly/2kCYbOw.

For all of these reasons, the Constitution prohibits States from subjecting the President to
criminal process while he is in office. The notion that this prohibition “places the President ‘above
the law” is “wholly unjustified.” Fitzgerald, 457 U.S. at 758 n.41. “It is simply error to characterize an
official as ‘above the law’ because a particular remedy is not available against him.” Id Again, “[a]
sitting President who engages in criminal behavior falling into the category of ‘high Crimes and
Misdemeanors’ always subject to removal from office upon impeachment by the House and
conviction by the Senate, and is thereafter subject to criminal prosecution.” 24 O.L.C. Op. 257; see also
Bybee 63 (“[T]hat the President is not above the law ... is a red herring. ... [The relevant constitutional]

clauses do not give the President immunity from prosecution; rather, they specify an order in which

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things are to occur.”). We of course have “a government of laws, not men,” but “the People have a
right to vigorous Executive who protects and defends them, their country, and their Constitution.
Temporary immunity is the only way to ensure both of these things.” Amar & Kalt 20-21.

The District Attorney’s subpoena to Mazats attempts to criminally investigate the President.
It names him as a target. It seeks his personal records, including his personal tax returns. It was directed
to his business, and then his accountant, precisely because of their connections with the President. It
ptecisely copies a congressional subpoena that the House General Counsel admitted “involve[s] the
presidency” and “you have to look at ... in terms of these ate the records of the President.” O.A.
Transcript 76-77, Trump v. Mazars USA, LLP, No. 19-5142 (D.C. Cir.). The District Attorney’s
subpoena also asks about the President’s alleged conduct. As a grand-jury subpoena, its purpose is to
bolster “a finding that it is probable that the President has committed a crime.” Strica, 487 F.2d at 758
(MacKinnon, J., concurring in part and dissenting in part). That insinuation, even if made “obliquely,”
would “vitiate the sound judgment of the Framers that a President must possess the continuous and
undiminished capacity to fulfill his constitutional obligations.” Id. Out constitutional system forbids a
single State from investigating the President in this matter. The Mazars subpoena cannot be enforced
while the President is in office.

III. Alternatively, the President has raised serious questions and the balance of hardships
tips decidedly in his favor.

At the very least, the President’s claim raises “sufficiently serious questions going to the merits
to make them a fair ground for litigation” and the “balance of hardships tip[s] decidedly toward ...
pteliminaty relief.”’ Citigroup, 598 F.3d at 35. Eastland is directly analogous. There, a congressional
committee subpoenaed the plaintiffs bank for “records pertaining to or involving the [plaintiffs]
account or accounts.” 488 F.2d at 1254. The plaintiff sued the bank and several congressional
defendants for a declaration that the subpoena was unenforceable and for an injunction prohibiting

the defendants from enforcing or complying with it. Id. at 1254-56. When the district court denied a

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TRO, the D.C. Circuit reversed and stayed the subpoena’s enforcement. See zd. at 1256. The “decisive
element” favoring a stay, the D.C. Circuit explained, was the fact that “unless a stay is granted this
case will be mooted, and there is likelihood, that irreparable harm will be suffered by [plaintiff when
the subpoena’s due date artives].” Id. The court added that the stay was warranted because the case
taised “serious constitutional questions that require more time” and issues “of such significance that
they require” further “consideration and deliberation.” Id. When the district court then denied a
preliminary injunction on remand, the D.C. Circuit reversed again and entered another stay to preserve
the status quo. See zd. at 1257. The D.C. Circuit reiterated that the district court needed to fully consider
the merits of plaintiff's claims on final judgment to “ensure” that the case “is determined with the best
available perspective, both as to the underlying evidence and the appraisal thereof by the District
Judge.” Id. at 1257.

This Court should follow Eastland. Here too, the President faces “itreparable harm” if he does
not receive interim relief before the subpoena’s due date. Id. at 1256. And here too, the President
raises “serious constitutional questions” that should be tesolved following full merits briefing, oral
argument, and this Court’s “best available perspective” after thoughtful “consideration and
deliberation.” Id. at 1256-57. If anything, the constitutional questions raised in this case—whethet and
how a State can subject a sitting President to criminal process—are more serious and important than
the questions in Eastland. See Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency
and Beyond, 93 Minn. L. Rev. 1454, 1486 n.31 (2009). And ruling against the President on these
questions would overrule the formal position of the U.S. Department of Justice and the views of
“[ajlmost all legal commentators.” Bork Memo 17. Hence, the fact that the President will suffer
irreparable harm if the subpoena is not stayed and Mazars reveals his information should be “decisive.”
Eastland, 488 F.2d at 1257.

Also like Eastland, the balance of harms in this case tips decidedly in favor of a preliminary

injunction. For Mazars, it will actually beneft from an order preserving the status quo. As a matter of

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state and federal law, accountants like Mazars have a legal obligation to keep their clients’ information
confidential. See AICPA Code §1.700.001.01 (prohibiting accountants from “disclosfing] any
confidential client information without the specific consent of the client”); 8 N.Y.C.R.R. §29.10(c)
(“[U]nprofessional conduct” by accountants includes the “revealing of personally identifiable facts,
data or information obtained in a professional capacity without the prior consent of the client.”); 26
U.S.C. §7216 (prohibiting tax preparers from disclosing tax returns). A subpoena does not exempt
Mazars from this duty unless it is “validly issued and enforceable.” AICPA Code §1.700.001.02. But
the validity and enforceability of the subpoena is exactly what the President challenges in this lawsuit.
Mazats thus faces a difficult choice: ignore the subpoena and risk adverse action by the District
Attorney, or comply with the subpoena and risk liability to the President. Only interim relief resolves
this dilemma: It allows an “orderly resolution of [the] disputed question” by permitting Mazars to
“merely await a court ruling on [the President’s] challenge.” AT@”T, 567 F.2d at 129. Such relief would
tecognize and enforce the principle that, when a client “challenges the enforceability of a subpoena,”
the accountant “c[an] refuse to produce the documents, thereby allowing [the client to litigate], azthout
violating its obligation to comply with enforceable subpoenas.” United States v. Deloitte LLP, 610 F.3d 129, 142
(D.C. Cir. 2010) (emphasis added).

As for the District Attorney, he has no urgent need for the subpoenaed documents. “[T]he
events at issue are already several years old and if the [defendants] prevail] in this litigation, the records
will ultimately be produced.” Judicial Watch, Inc. v. U.S. Dep't of Homeland Sec., 514 F. Supp. 2d 7, 11
(D.D.C. 2007). The District Attorney’s “interest in receiving the records immediately” thus “poses no
threat of irreparable harm to [him].” Shapiro v. DOJ, 2016 WL 3023980, at *7 (D.D.C. May 25, 2016)
(quoting John Doe Agency, 488 U.S. at 1309 (Marshall, J., in chambers)); see EPIC v. DOJ, 15 F. Supp.
3d 32, 47 (D.D.C. 2014) (explaining that “desire to have [the documents] in an expedited fashion
without more is insufficient to constitute irreparable harm”). Interim relief only “postpones the

moment of disclosure ... by whatever period of time may be required” to finally adjudicate the merits

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of the President’s claim. Providence Journal, 595 F.2d at 890; see Fund For Animals v. Norton, 281 F. Supp.
2d 209, 222 (D.D.C. 2003) (rejecting government’s claim of harm in having its action “delayed for a
short period of time pending resolution of this case on the merits”); 22nd Avenue Station, Inc. v. City of
Minneapolis, 429 F.Supp.2d 1144, 1152 (D. Minn. 2006) (similar); Inchcape Shipping Services Holdings Lita.
v. United States, 2014 WL 12838793, at *3 (Fed. Cl. 2014) (similar). Regardless, whatever interest the
District Attorney might have in immediately obtaining these documents pales in comparison to the
President’s interest in securing judicial review before the status quo is forever altered.

Last, the public interest weighs strongly in favor of preserving the status quo. The District
Attorney simply “does not have an interest” in violating the Constitution, Amarin Pharma, Inc. v. FDA,
119 F. Supp. 3d 196, 237 (S.D.N.Y. 2015), and the public “clearly” has “an interest in the government
maintaining procedures that comply with constitutional requirements,” ACORN v. FEMA, 463
F, Supp. 2d 26, 36 (D.D.C. 2006) (citing O'Donnell Const. Co. v. District of Columbia, 963 F.2d 420, 429
(D.C. Cir. 1992)). Allowing the District Attorney to evade judicial review is not in the public interest.
“Although ... the public has an interest in ensuring that the [government] can exercise its authority,”
“Defendants offer no persuasive argument that there is an immediate public interest in enforcing ...
[now] rather than after a full hearing.” Cigar _Ass’n of Am. v. FDA, 317 F. Supp. 3d 555, 563 (D.D.C.
2018). Nor could New York County’s interest in immediately enforcing its criminal laws possibly
outweigh ¢he nation’s interest in “the functioning of an entire branch of government.” 24 O.L.C. Op.
at 257. All the factors governing a plaintiff's entitlement to preliminary relief strongly favor the

President.

CONCLUSION

For these reasons, this Court should grant the President’s motion. The President respectfully
requests that, by noon on September 19, 2019, the Court enter a TRO requiring Defendants not to
enforce or comply with the subpoena until the motion for a preliminary injunction is resolved. Then,

after briefing and oral argument, the Court should enter a preliminary injunction ordering Defendants

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not to enforce or comply with the subpoena until this case is finally resolved on the merits. The Court

should grant an administrative stay, as needed, to prtesetve its ability to consider the President’s

motion.

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Marc L. Mukasey

  

MUKASEY FRENCHMAN & SKLAROFF LLP

Two Grand Central Tower

140 East 45th Street, 17th Floor
New York, New York 10
(212) 466-6400
marc.mukasey@mukase

Alan S. Futerfas
Law Offices of Alan S. Futetias
565 Fifth Ave., 7th Floor
New York, NY 10017
(212) 684-8400

asfuterfas@futerfaslaw.com

  
   
 

Respectfully submitted,

S/ Wiliam S. Consovoy

William S. Consovoy (pro hac vice forthcoming)
Cameron T. Notris

CONSOVOY MCCARTHY PLLC

1600 Wilson Blvd., Ste. 700

Arlington, VA 22209

(703) 243-9423

will@consovoymccarthy.com
cam@consovoymccarthy.com

Patrick Strawbridge

CONSOVOY MCCARTHY PARK PLLC
Ten Post Office Square

8th Floor South PMB #706

Boston, MA 02109
patrick@consovoymccatthy.com

Counsel for President Donald J. Trump

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